
39 So. 3d 532 (2010)
Christian HODGES, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-2002.
District Court of Appeal of Florida, First District.
July 13, 2010.
James T. Miller, Jacksonville, for Petitioner.
Bill McCollum, Attorney General, and Edward C. Hill, Jr., Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the order rendered November 8, 2007, denying petitioner's motion for postconviction relief in Duval County Circuit Court case number 16-2003-CF-12775-AXXX, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal.
PADOVANO, THOMAS, and CLARK, JJ., concur.
